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   Date         Type    Invoice No.                                Description                                       Total


             Billable                 Expense: Fee associated with filing Complaint in the United States
             Expense                  District Court for the District of Maryland in the matter of Kubas v.
08/26/2020   Charge     17095         331B, LLC (Case No. 1:20-cv-02456 GLR) with no markup                     $400.00
             Billable
             Expense                  Expense: paid database - searches for certain client-related contact
04/01/2021   Charge     17467         information. with no markup                                                   $15.90
             Billable
             Expense                  Pro Hac Vice Motion for S. Shuntich (Kubas v. 331B LLC) with no
04/14/2021   Charge     17467         markup                                                                    $100.00
             Billable
             Expense                  Expense: Transcript of the Deposition of Said Saab taken on
04/27/2021   Charge     17467         4/16/2021 with no markup                                                  $567.00
             Billable
             Expense                  Expense: Transcript of the Deposition of Billy D. Williams taken on
04/29/2021   Charge     17467         4/21/2021 with no markup                                                  $252.00
             Billable
             Expense                  Expense: Check Issue Fee associated with Witness Fee Tendered
05/17/2021   Charge     17616         to Billy Williams with no markup                                              $10.00
             Billable
             Expense
05/17/2021   Charge     17616         Expense: Witness Fee Tendered to Billy Williams with no markup                $40.00
             Billable
             Expense                  Expense: Service of Subpoena to Testify at a Deposition on Billy
05/17/2021   Charge     17616         Williams (Glen Burnie, MD) with no markup                                 $125.00
             Billable
             Expense                  Expense: Check Issue Fee associated with Witness Fee Tendered
05/17/2021   Charge     17616         to Devin Conway with no markup                                                $10.00
             Billable
             Expense
05/17/2021   Charge     17616         Expense: Witness Fee Tendered to Devin Conway with no markup                  $40.00
             Billable
             Expense                  Expense: Service of Subpoena to Testify at a Deposition on Devin
05/17/2021   Charge     17616         Conway (Severna Park, MD) with no markup                                  $125.00
             Billable
             Expense                  Expense: Attempted Service of Subpoena to Testify at a Deposition
05/17/2021   Charge     17616         on Devin Conway (Pasadena, MD) with no markup                             $125.00
             Billable
             Expense                  Expense: Check Issue Fee associated with Witness Fee Tendered
05/17/2021   Charge     17616         to LaToya Butler Williams with no markup                                      $10.00
             Billable
             Expense                  Expense: Witness Fee Tendered to LaToya Butler Williams with no
05/17/2021   Charge     17616         markup                                                                        $40.00
             Billable
             Expense                  Expense: Service of Subpoena to Testify at a Deposition on LaToya
05/17/2021   Charge     17616         Butler Williams (Glen Burnie, MD) with no markup                          $125.00
             Billable                 Expense: Attempted Service of Subpoena on Tiffany P. Robinson,
             Expense                  in her official capacity as Secretary of the Maryland Department of
07/15/2021   Charge     17616         Labor concerning unemployment reords (with no markup)                     $120.00




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                                                                                                        EXHIBIT 5
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   Date         Type    Invoice No.                                Description                                   Total
             Billable
             Expense                  Expense: Check Issue Fee associated with Witness Fee Tendered
07/27/2021   Charge     17616         to Devin Conway with no markup                                           $10.00
             Billable
             Expense                  Expense: Attempted Service of Subpoena to Testify at a Deposition
07/27/2021   Charge     17616         on Devin Conway (Pasadena, MD) with no markup                           $125.00
             Billable
             Expense                  Expense: Service of Subpoena to Testify at a Deposition on Devin
07/27/2021   Charge     17616         Conway (Severna Park, MD) with no markup                                $125.00
             Billable
             Expense                  Expense: Transcript of the Deposition of Devin Conway taken on
08/17/2021   Charge     17625         07/29/2021 with no markup                                               $225.00
             Billable
             Expense                  Expense: Transcript of the Deposition of Devin Conway taken on
08/17/2021   Charge     17625         07/28/2021 with no markup                                               $846.00
             Billable
             Expense                  Expense: Transcript of the Deposition of Brian Chisolm taken on
08/17/2021   Charge     17625         07/28/2021 with no markup                                              $1,201.50
             Billable
             Expense                  Expense: Transcript of the Deposition of Kimberly Kubas taken on
08/24/2021   Charge     17625         08/05/2021 with no markup                                              $1,118.00
             Billable
             Expense
02/06/2023   Charge     18591         Expense: Lodging in Baltimore, MD for trial with no markup              $664.09
             Billable
             Expense                  Expense: Service of Process attempt on Devin Conway at 205
07/20/2023   Charge     19034         Ullman Road, Pasadena, MD 21122 with no markup                           $95.00
             Billable
             Expense                  Expense: Service of Process on Latoya Williams at 336 Gatewater
07/21/2023   Charge     19034         Court, Apt 104, Glen Burnie, MD 21060 with no markup                     $95.00
             Billable
             Expense                  Expense: Service of Process on Billy Williams at 336 Gatewater
07/21/2023   Charge     19034         Court, Apt 104, Glen Burnie, MD 21060 with no markup                     $95.00
             Billable
             Expense                  Expense: Advanced Witness Fee paid to Devin Conway with no
07/21/2023   Charge     19034         markup                                                                   $74.68
             Billable
             Expense                  Expense: Service of Process on Devin Conway at 101 Stone Point
07/21/2023   Charge     19034         Drive, Annapolis, MD 21401 with no markup                                $95.00
             Billable
             Expense                  Expense: Service of Process attempts on Billy Williams at Bistro 64,
08/01/2023   Charge     19150         6494 Marlboro Pike, District Heights, MD 20747 with no markup            $75.00
             Billable
             Expense                  Expense: paid database - searches for certain clients' contact
08/01/2023   Charge     19150         information. with no markup                                              $15.90
             Billable
             Expense                  Expense: Advanced Witness Fee for Latoya Williams with no
08/09/2023   Charge     19150         markup                                                                   $58.68




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   Date         Type    Invoice No.                                Description                                  Total
             Billable
             Expense                  Expense: Service of Process on Latoya Williams at 115 Glenlea
08/09/2023   Charge     19150         Drive, Glen Burnie, MD 21060 with no markup                             $95.00
             Billable
             Expense
08/09/2023   Charge     19150         Expense: Advanced Witness Fee for Billy Williams with no markup         $58.68
             Billable
             Expense                  Expense: Service of Process on Billy Williams at 115 Glenlea Drive,
08/09/2023   Charge     19150         Glen Burnie, MD 21060 with no markup                                    $95.00
             Billable
             Expense
08/18/2023   Charge     19150         Trial consultation with no markup                                     $1,024.00
             Billable
             Expense
08/23/2023   Charge     19150         Expense: Exhibit preparation by Sequential, Inc. with no markup        $716.77
             Billable
             Expense
08/24/2023   Charge     19150         Expense: Trial presentation materials                                  $103.63
             Billable
             Expense
08/27/2023   Charge     19150         Expense: Travel/meal expense                                             $9.61
             Billable
             Expense
08/28/2023   Charge     19150         Expense: Travel/meal expense                                            $16.23
             Billable
             Expense
08/28/2023   Charge     19150         Expense: Travel/meal expense                                             $7.83
             Billable
             Expense
08/28/2023   Charge     19150         Expense: Travel/meal expense                                            $14.45
             Billable
             Expense
08/28/2023   Charge     19150         Expense: Travel/meal expense                                            $21.29
             Billable
             Expense
08/29/2023   Charge     19150         Expense: Travel/meal expense                                            $18.26
             Billable
             Expense
08/29/2023   Charge     19150         Expense: Travel/meal expense                                           $116.37
             Billable
             Expense
08/29/2023   Charge     19150         Expense: Travel/meal expense                                            $10.59
             Billable
             Expense
08/30/2023   Charge     19150         Expense: Travel/meal expense                                            $48.89
             Billable
             Expense
08/30/2023   Charge     19150         Expense: Travel/meal expense                                            $11.65




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   Date         Type    Invoice No.                               Description                          Total
             Billable
             Expense
08/31/2023   Charge     19150         Expense: Travel/meal expense                                   $14.17
             Billable
             Expense
08/31/2023   Charge     19150         Expense: Travel/meal expense                                   $26.73
             Billable
             Expense
09/01/2023   Charge     19150         Expense: Travel/meal expense                                   $14.84
             Billable
             Expense
09/02/2023   Charge     19150         Expense: Travel/lodging                                       $950.03
             Billable
             Expense
09/05/2023   Charge     19150         Expense: Travel/transportation                                 $35.00
             Billable
             Expense
09/05/2023   Charge     19150         Expense: Travel/meal expense                                     $2.91
             Billable
             Expense
09/05/2023   Charge     19150         Expense: Travel/meal expense                                   $14.84
             Billable
             Expense
09/05/2023   Charge     19150         Expense: Travel/lodging                                       $688.57

                                                                                TOTAL EXPENSES:   $11,139.09




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